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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA                         *
                                                  *
                v.                                *        Criminal Action No. 1:19-cr-10081-IT
                                                  *
 JOVAN VAVIC,                                     *
                                                  *
         Defendant.                               *

                                              ORDER

                                           March 9, 2022
TALWANI, D.J.

       Before the court is Defendant Jovan Vavic’s Motion to Dismiss, or at a Minimum, for

Discovery and an Evidentiary Hearing Based on Cumulative Government Misconduct [Doc. No.

1095]. In support of dismissal or discovery, Vavic argues that (1) the government was aware that

William “Rick” Singer was involved in a variety of ongoing criminal activities, including money

laundering, and (2) the government failed to turn over exculpatory evidence, which defense

counsel learned of only one week prior to trial. The government denies withholding any such

evidence and counters that Vavic’s assertion is unsupported.

       Based on the evidence before the court, see Letter [Doc. No. 1090]; Def’s Exhibits [Docs.

No. 1096-1—1096-11], the court concludes that there is not a sufficient basis to support a

finding of government misconduct. As has been a refrain throughout these proceedings, though,

there is a sufficient basis for concern as to Singer’s credibility. To the extent that the government

intends to offer Singer’s out-of-court statements at trial, the court anticipates carefully balancing
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the relevance of the evidence and the possibility of unfair prejudice or misleading the jury. See

Fed. R. Evid. 403.

       IT IS SO ORDERED.

       March 9, 2022                                         /s/ Indira Talwani
                                                             United States District Judge




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